Case 1:21-cr-00073-RJS-DBP Document 81-3 Filed 08/04/24 PageID.282 Page 1 of 1




                                                                             robert f. regan
                                                                        1229 valhalla drive
                                                                     clearfield, utah 84015
                                                                             385-299-1229


                                                                              29 july 2024


 Judge Shelby
 Marissa mitigation@gmail.com


 RE: Dana Steele


 Dear Sir:

 Usually when I am asked to write a letter for someone I have a good address and use
 proper formatting. I even pull out the 25% rag bond paper, and of course, sign in blue
 ink. But alas, all I have is this email address. So forgive me, I must use what I have.

 I’ve known Dana for the 30 years that I’ve owned the house next to her. She’s been a
 good neighbor. When I’ve been away from my house she’s stepped in to mow the lawn
 or shovel the walk. She’s even, in her own colorful language, asked folks who were
 casing the joint, pounding on the door and looking through the windows, to vacate the
 premises. She was, I’m certain, using more direct and forceful words, never considering
 the word “vacate” in that conversation. But that’s Dana, my good neighbor.

 I don’t think she should be sent away as punishment because doing so is a huge waste of
 dollars. It costs, the last I read, $55,000 a year to house an inmate in prison. She’s not
 the kind of threat that would justify spending that amount of money. And, by being
 locked up, it prevents her earning wages and paying taxes on those wages. I see it as a
 double whammy. A lose/lose. So to save money, please let her remain free. That’s
 Dana, my good neighbor.

 Thanking you in advance, I remain,

 Sincerely yours,




 robert f. regan
